            Case 8:19-bk-13139-TA                   Doc 68 Filed 06/02/20 Entered 06/02/20 13:08:33                                     Desc
                                                     Main Document    Page 1 of 4


 0


 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address

 Jay K. Chien, SBN 251343
 Amrane Cohen, Chapter 13 Trustee
 770 The City Drive South, Suite 3700
 Orange, CA 92868
 Phone: (714) 621-0200 Fax (714) 621-0277




 ☐ Chapter 13 Trustee
 ☒ Attorney for Chapter 13 Trustee
                                            UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re:                                                                       CASE NUMBER 8:19-bk-13139-TA

      Brian Leach,                                                            CHAPTER 13


                                                                                        CHAPTER 13 TRUSTEE’S COMMENTS ON
                                                                                         OR OBJECTION TO APPLICATION FOR
                                                                                         ALLOWANCE OF FEES AND EXPENSES
                                                                Debtor(s).                   FOLLOWING DISMISSAL OR
                                                                                          CONVERSION OF CHAPTER 13 CASE
                                                                                             SUBJECT TO A RIGHTS AND
                                                                                           RESPONSIBILITIES AGREEMENT


                                                                                                        [No Hearing Required]




The Chapter 13 Trustee, having reviewed the Application for Additional Fees and Related Expenses in a Pending Chapter
13 Case Subject to a Rights and Responsibilities Agreement (Application) filed on 5/28/20 as docket entry number 67
, provides the following response to the Application:

☐         RECOMMENDED WITHOUT CONDITIONS.

☒     RECOMMENDED on the following conditions:
Allow supplemental attorney fees of $4,862.00, of which $4,862.00 is to be paid by the Trustee if funds are available.
Applicant to file declaration re non-receipt of objection to the motion if no objection is filed by other parties. Applicant to
upload an electronic order approving the motion if no party objects or setting the motion for a hearing if a party files an
objection to the motion.
          ☐ See attached sheet.
☐         NOT RECOMMENDED for the following reasons:


             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

 December 2017                                                           Page 1
                                                                                            F 3015-1.11.TRUSTEE.COMMENT.FEES
       Case 8:19-bk-13139-TA                   Doc 68 Filed 06/02/20 Entered 06/02/20 13:08:33                                     Desc
                                                Main Document    Page 2 of 4



    ☐ See attached sheet.
☐   NO POSITION TAKEN BY THE CHAPTER 13 TRUSTEE

☐   SET FOR HEARING.


    Dated: 6/2/2020                                         Respectfully submitted,

                                                            /s/_Jay K. Chien
                                                            Signature of Chapter 13 Trustee or Attorney for Chapter 13 Trustee

                                                            Jay K. Chien
                                                            Printed name of Chapter 13 Trustee or Attorney for Chapter 13 Trustee




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                       Page 2
                                                                                       F 3015-1.11.TRUSTEE.COMMENT.FEES
       Case 8:19-bk-13139-TA                   Doc 68 Filed 06/02/20 Entered 06/02/20 13:08:33                                     Desc
                                                Main Document    Page 3 of 4




                                    [THIS PAGE INTENTIONALLY LEFT BLANK.]




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                       Page 3
                                                                                       F 3015-1.11.TRUSTEE.COMMENT.FEES
              Case 8:19-bk-13139-TA                    Doc 68 Filed 06/02/20 Entered 06/02/20 13:08:33                                     Desc
                                                        Main Document    Page 4 of 4



                                             PROOF OF SERVICE OF DOCUMENT
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

     770 The City Drive South, Suite 3700, Orange, CA 92868

     A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S COMMENTS ON OR OBJECTION TO
     APPLICATION FOR SUPPLEMENTAL FEES will be served or was served (a) on the judge in chambers in the form and
     manner required by LBR 5005-2(d); and (b) in the manner stated below:

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
     Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
     6/2/20, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
     persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

--   Amrane Cohen efile@ch13ac.com; United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov;
     Dennis Connelly socalesquire@gmail.com
                                                                                           ☐ Service information continued on attached page
     2. SERVED BY UNITED STATES MAIL:
     On (date) 6/2/20, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
     adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
     postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
     be completed no later than 24 hours after the document is filed.




                        Brian Leach
                        32 Verdin Lane
                        Aliso Viejo, CA 92656
                                                                                           ☐ Service information continued on attached page
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
     for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
     the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
     such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
--
     that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
     filed.

     The Honorable Theodor C. Albert
                                                                                           ☐ Service information continued on attached page
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

       6/2/20              Jay Chien                                                                 /s/ Jay Chien
       Date                           Printed Name                                                   Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      December 2017                                                         Page 4
                                                                                               F 3015-1.11.TRUSTEE.COMMENT.FEES
